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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:08-cr-00207
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
GREGORY WINFREE,                    )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on December 5, 2008, after receiving the written consent of defendant and all counsel. There

is no written plea agreement. At the hearing, defendant Gregory Winfree entered a plea of guilty

to the Indictment charging defendant with conspiracy to distribute more than five kilograms of

cocaine in violation of 21 U.S.C. §§ 846 and 841(a)(1). On the basis of the record made at the

hearing, I find that defendant is fully capable and competent to enter an informed plea; that the plea

is made knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises; that the defendant understands the

nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to the Indictment be accepted,

and that the court adjudicate defendant guilty. Acceptance of the plea, adjudication of guilt, and
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imposition of sentence are specifically reserved for the district judge. The clerk is directed to

procure a transcript of the plea hearing for review by the District Judge.



Date: December 16, 2008                                /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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